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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

Inmar, Inc., et al.
                                     Plaintiff,
v.                                                    Case No.: 1:18−cv−02306
                                                      Honorable Charles R. Norgle Sr.
Monica Murphy Vargas, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 19, 2018:


        MINUTE entry before the Honorable Charles R. Norgle: Motion for extension of
time to answer or otherwise plead [10] is granted. Motion for extension of time to answer
or otherwise plead [18] is granted. The parties are not required to appear before the court
on Friday, April 20, 2018. Mailed notice(ewf, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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